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 5   Attorney for Defendant,
     Daniel Harte
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 7
                                    IN THE UNITED STATES DISTRICT COURT

 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                              NO. 1:16-CR-00151-DAD-BAM (003)
10                     Plaintiff,
11
          v.                                                WAIVER OF DEFENDANT’S PERSONAL
                                                            PRESENCE PURSUANT TO FEDERAL
12                                                          RULES OF CRIMINAL PROCEDURE, RULE
     LYNNSI MARGUERITE DUNBAR,
     KYE AARON DUNBAR, and                                  43 (b)(3);
13
     DANIEL HARTE                                           [PROPOSED] ORDER
14
                       Defendants.
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16
     TO THE ABOVE ENTITLED COURT AND ALL PARTIES OF RECORD:
17
               Defendant DANIEL HARTE (“Mr. Harte”) has been advised of his right to be personally
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19   present at all stages of the court proceedings in the above entitled action against him. Mr. Harte

20   hereby waives his right to be present for proceedings that involve only a conference or a hearing on a

21   question of law pursuant to Federal Rules of Criminal Procedure, Rule 43, subdivision (b)(3).
22
               Pursuant to this waiver, Mr. Harte requests that the Court allow his interests to be represented
23
     by the presence of his attorney, Richard M. Oberto, and he agrees that his interests shall be
24
     represented the same as if he were personally present. Mr. Harte agrees that notice to his attorney that
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     his personal presence is required for a proceeding at a specific time and place will be deemed noticed
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27   to Mr. Harte of the requirement of his personal presence.

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 2   DATED: 10/11/2016                                   /s/ Daniel Harte
 3                                                             DANIEL HARTE
                                                               Defendant
 4                                                             Original signature retained by
                                                                attorney Richard M. Oberto
 5

 6
     DATED: 10/11/2016                                   /s/ Richard M. Oberto
 7                                                              RICHARD M. OBERTO
                                                                Attorney for Defendant,
 8                                                              Daniel Harte
                                                                Original signature retained by
 9                                                              attorney Richard M. Oberto
10

11                                         [PROPOSED] ORDER

12          IT IS HEREBY ORDERED that the personal presence of Defendant DANIEL HARTE is

13   not required for proceedings that involve only a conference or a hearing on a question of law
14
     pursuant to Federal Rules of Criminal Procedure, Rule 43, subdivision (b)(3).
15
                    IT IS SO ORDERED.
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17                  Dated:    November 4, 2016                  /s/ Barbara A. McAuliffe
                                                            UNITED STATES MAGISTRATE JUDGE
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